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                     UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

MORINVILLE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )
                          )
      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                   )
                          )
      Defendants. )



               PLAINTIFF S MOTION TO AMEND COMPLAINT

                                 EXHIBIT F




                                     21
                                   Case 4:20-cv-00980-KPJ Document 57-6 Filed 12/13/21 Page 2 of 2 PageID #: 2932




                                       Engineering, Innovation & Research

    United States: Engineering Israel: Innovation and Research

                 Liz Bowers                                                           Rotem Tzuk
               Vice President,                            Dovi Yellin
                                                                                     Vice President,
                Engineering                              Chief Scientist
                                                                                          R&D

    TBD
   ui/ux !                       TBD j                    Seyed Hosseini                          Eyal Borovsky
                         API Developer 1
                                                                              TBD
 Developer i                                               M/L Engineer                                (Student)
                                                                            Developer
                                                                                                       Developer
 M. Waqas                        TBD
   Arsalan             Infrastructure t                  Adi Goldenberg     Omri Gilhar
iOS Develope         1 Developer                            (Student)        (Student)            Gil Blumenfeld
                                                          Data Scientist    Developer                     QA


                                                               TBD
                                                           M/L Engineer
